
USCA1 Opinion

	










          May 3, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 94-2265

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  ELIZABETH MOGAJI,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                  [Hon. Francis J. Boyle, Chief U.S. District Judge]
                                          _________________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Stahl and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Elizabeth I. Mogaji on brief pro se.
            ___________________
            Sheldon Whitehouse, United  States Attorney, and James H.  Leavey,
            __________________                               ________________
        Assistant United States Attorney, on brief for appellee.


                                 ____________________


                                 ____________________





                      Per Curiam.   Defendant-appellant Elizabeth  Mogaji
                      __________















            was convicted of  one count  of conspiracy  to commit  credit

            card  fraud  and five  counts  of  fraudulent  use of  access

            devices.  See 18 U.S.C.   1029(a)(2).  She raises a number of
                      ___

            issues on appeal, all of them meritless.

                      1.  Motion to Suppress.
                          __________________

                      Defendant  argues that  the  district court  should

            have suppressed the contents of the two plastic bags found by

            Pamela McCutcheon  and turned over to  Secret Service Special

            Agent James  Mooney.  The government  correctly responds that

            defendant has no standing  to contest the search  because she

            did not  have  a reasonable  expectation  of privacy  in  the

            common basement area of the  duplex at 10-12 Stamford Avenue;

            nor does the fact that defendant's driver's license was found

            in one of the bags  make a difference.  See United  States v.
                                                    ___ ______________

            Thornley, 707  F.2d 622, 625  (1st Cir. 1983)  (defendant may
            ________

            not protect himself against discovery of an item by taking it

            from his  own premises and hiding  it in a place  in which he

            has no  legal interest).   Further, defendant did  not assert

            ownership of anything in the plastic  bags at the suppression

            hearing  -- the time at which defendant must carry her burden

            of  showing a  privacy  expectation.   See  United States  v.
                                                   ___  _____________

            Aguirre,  839  F.2d  854,  856  (1st  Cir.  1988).    Because
            _______

            defendant plainly has  no standing to contest  the search, we

            need not address defendant's credibility arguments. 

                      2.  Judgment of Acquittal.
                          _____________________



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                      Defendant  argues  that   there  was   insufficient

            evidence  to find  her guilty  of any  of  the counts  in the

            indictment.  We will address these arguments by count, ending

            with Count One, the conspiracy charge.  We review  challenges

            to the  sufficiency of  the evidence  to determine  whether a

            rational  jury could  find guilt  beyond a  reasonable doubt.

            United States v.  Flores-Rivera, 56 F.3d  319, 323 (1st  Cir.
            _____________     _____________

            1995).   In  so doing,  we examine  the evidence,  along with

            reasonable  inferences, in  the light  most favorable  to the

            prosecution.  Id.  The evidence may be circumstantial and the
                          ___

            prosecution does not have  to exclude every reasonable theory

            of innocence.  United States v. Batista-Polanco, 927 F.2d 14,
                           _____________    _______________

            17 (1st  Cir. 1991).  "Furthermore, the  reviewing court does

            not   evaluate   witness   credibility,   but   resolves  all

            credibility issues in favor  of the verdict."  Flores-Rivera,
                                                           _____________

            56 F.3d at 323.

                      The   above   principles  dispose   of  defendant's

            assertions that many of the witnesses lied on the stand.   We

            have reviewed  the trial  transcript and conclude  that these

            challenges go  instead to  the credibility of  the witnesses.

            As  such, we will not  revisit the jury's  evaluation in this

            regard.  See id.
                     ___ ___

                          (a).  Count Two.   This count charges defendant
                                _________

            and Onyejekwe with using a Chase Manhattan Mastercard  in the

            name of Raymond Walters  to purchase two checks in  the total



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            amount of $10,150  in violation of    1029(a)(2).   Defendant

            first argues  that  none of  the  exhibits submitted  by  the

            government in relation to this charge showed that she had any

            involvement in procuring these checks.  However, defendant is

            being charged as part  of a conspiracy.  Under  the Pinkerton
                                                                _________

            doctrine, Pinkerton v. United States, 328 U.S. 640  (1946), a
                      _________    _____________

            member of a conspiracy may be held liable for the substantive

            crimes committed by co-conspirators if the substantive crimes

            were  committed in  furtherance of  the conspiracy  and while

            defendant was a member  of the conspiracy.  United  States v.
                                                        ______________

            Flores-Rivera, 56 F.3d at 324.
            _____________

                          We think that a  rational jury could have found

            beyond a reasonable doubt that Onyejekwe used the Raymond  P.

            Walters Mastercard in furtherance of the conspiracy and while

            defendant  was  a  part  of  the  conspiracy.    First,  when

            Onyejekwe and defendant were  arrested for using a Mastercard

            in  the name of Beverly  Onofrio on July  10, 1991, Onyejekwe

            was carrying a  list of names.  On  this list appeared names,

            birth  dates  and addresses  for  both  Onofrio and  Walters.

            Further, the use  of the Walters Mastercard occurred  in mid-

            May  to  June of  1991  --  only a  month  prior  to the  two

            occasions on  which defendant and Onyejekwe  used the Onofrio

            Mastercard at the Lechmere stores.  The jury could reasonably

            infer, we think, that the use of both the Onofrio and Walters

            Mastercards occurred as part of one conspiracy.



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                          Second,  we believe  the evidence  supports the

            conclusion that defendant was a participant in the conspiracy

            when Onyejekwe used  the Walters Mastercard.   The common law

            is  that one  who joins an  ongoing conspiracy,  as defendant

            plainly did  on July 6 and 10, "is deemed to have adopted the

            prior acts and declarations of coconspirators, made after the

            formation  and in  furtherance  of the  conspiracy."   United
                                                                   ______

            States  v.  Cintolo,  818  F.2d 980,  997  (1st  Cir.), cert.
            ______      _______                                     _____

            denied, 484 U.S. 913 (1987).  Given that the names of Walters
            ______

            and Onofrio appeared on  the list Onyejekwe was  carrying the

            day defendant was arrested,  there was sufficient evidence to

            convict defendant on Count Two.  

                          (b).  Count Three.  This count concerns the use
                                ___________

            of  Beverly Onofrio's  Mastercard at  the Lechmere  stores on

            July 6 and 10, in 1991.  Defendant first argues  that Exhibit

            #12, a photocopy  of a  Lechmere sales slip,  was altered  to

            influence the jury.   She contends that one order  number was

            written over  another and that the employee number, 1034, was

            handwritten, when the  usual Lechmere custom  is to have  the

            employee  number pre-stamped on the sales slip.  Looking at a

            copy  of the  sales slip,  however, we  can discern  only one

            order  number  --  0061903.    As  for  the  writing  of  the

            employee's  number, there is  nothing to  support defendant's

            assertion  that Lechmere's  "usual  practice" was  to have  a

            printed number.



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                          Defendant next attacks the photo identification

            procedure  by which Alex Shtutin -- the Lechmere sales person

            who sold the  telefax machines to defendant  and Onyejekwe on

            July 6 --  identified defendant.   However, as far as  we can

            tell, defendant  never filed a  motion to suppress  the photo

            identification  prior to  trial;  in fact,  she did  not even

            object  to Shtutin's testimony at  trial.  We  have held that

            pretrial photo identification  procedures are subject to  the

            requirements of  Fed. R.  Crim. P.  12(b)(3)  and motions  to

            exclude  such evidence must be  made prior to  trial.  United
                                                                   ______

            States v. Gomez-Benabe, 985 F.2d 607, 611-12 (1st Cir. 1993).
            ______    ____________

            Given Gomez-Benabe,  we think  that defendant, by  not having
                  ____________

            given  the district court a chance to determine if she should

            be excused  from filing  a pretrial  motion to  suppress, has

            waived her right to challenge the identification procedure on

            appeal.

                          (c).    Counts Four  and  Five.   These  counts
                                  ______________________

            concern, respectively,  the use  of  Onofrio's Discover  Card

            during June 21, 1991  through June 25, 1991,  and the use  of

            Onofrio's  AT&amp;T Universal  Mastercard  during  June 26,  1991

            through July 24, 1991.  Defendant correctly notes, as she did

            with  respect to Count Two, that there was no direct evidence

            that she ever used  either card.  Thus, under  Pinkerton, the
                                                           _________

            government was required to prove that the use of the Discover

            Card  and the  AT&amp;T Universal  Mastercard, during  the period



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            from  June 21,  1991  to July  24, 1991,  was carried  out by

            Onyejekwe   in  furtherance  of   the  conspiracy  and  while

            defendant was involved in the conspiracy.  See Flores-Rivera,
                                                       ___ _____________

            56 F.3d at 324.

                          In regard  to Count Four, the  evidence is that

            the Discover Card was found in Onyejekwe's possession when he

            was arrested on  July 10, and that Onofrio's  name was on the

            list of names Onyejekwe was carrying.   Defendant argues that

            she was in the hospital during the time the Discover Card was

            used.   However, absent any claim that she had withdrawn from

            the conspiracy,  the fact  that defendant was  somewhere else

            during  her co-conspirator's  actions is  not relevant.   See
                                                                      ___

            United States  v. Juodakis,  834  F.2d 1099,  1102 (1st  Cir.
            _____________     ________

            1987) (per curiam).  Cessation of activity in a conspiracy is

            not  enough to  show withdrawal;  rather, a  conspirator must

            take some  affirmative  act  such as  a  full  confession  to

            authorities or a communication to a co-conspirator that he or

            she  is withdrawing from the enterprise.  Id.  Defendant does
                                                      ___

            not allege the existence of such circumstances here.

                          As for  Count Five,  defendant points  out that

            the AT&amp;T Universal Mastercard never  was recovered.  She also

            argues that there is no evidence connecting her to the use of

            the  AT&amp;T card.   We  do not  think that  either ground  is a

            sufficient  basis on  which to  overturn the  jury's verdict.

            First, the question  is not only  whether defendant used  the
                                    ___



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            AT&amp;T card, but also whether Onyejekwe might have used it.  In
                                        _________

            this regard,  we note that the  AT&amp;T card was  applied for in

            June 1991 and was  used during the same period  defendant and

            Onyejekwe  were  using the  other  cards  in Onofrio's  name.

            Because  the  evidence  linking   Onyejekwe  to  the  use  of

            Onofrio's  name  is  so  strong,  we  think  that   the  jury

            rationally  could find  that  Onyejekwe  used Onofrio's  AT&amp;T

            Universal Mastercard.

                          (d).  Count Six.   This count charged defendant
                                _________

            with using a Mastercard  in the names of Leonard  L. Medeiros

            and  Althea  V. Medeiros  to  withdraw  money from  automated

            teller  machines.   The government's  evidence  consisted, in

            part, of photographs  of the person  who withdrew money  with

            the  card in question.  McCutcheon had testified that she had

            rented  half of the duplex  at 10 Stamford  Ave. to defendant

            who told McCutcheon that she (defendant) was Althea Medeiros.

            McCutcheon identified defendant as the person in the picture.

                          Defendant  argues  that the  photographs should

            not  have  been admitted  in evidence  because they  were too

            blurry for identification  purposes.  As a result,  she adds,

            McCutcheon's identification of her  was suspect.  However, as

            with the other photo  identification, defendant never filed a

            motion  to  suppress the  photographs.    Therefore, she  has

            waived an appellate challenge to them.  See Gomez-Benabe, 985
                                                    ___ ____________

            F.2d  at  611-12.     In  any  event,  defendant's  arguments



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            concerning McCutcheon's testimony  really go to  credibility.

            Thus, we need not  review her claims.  See  Flores-Rivera, 56
                                                   ___  _____________

            F.3d at 323.

                          (e).   Count One.  Count  one charged defendant
                                 _________

            with conspiracy to commit credit card fraud.  Defendant makes

            some  of the same arguments in support of her contention that

            the government failed  to show a  conspiracy between her  and

            Onyejekwe as  she made in regard to Counts Two and Four.  For

            the  reasons stated  in the  discussion regarding  Count Two,

            defendant's arguments,  first, that  the acts in  Counts Two,

            Four and Five  took place prior to July 10  and, second, that

            she  only was present in the  Lechmere parking lot on July 10

            fail.  Similarly unavailing are the arguments that there  was

            no  evidence that defendant ever used a credit card or helped

            Onyejekwe use a  credit card,  that defendant's  fingerprints

            were not found on any cards, and that no cards  were found on

            her person.   Under  Pinkerton, defendant is  responsible for
                                 _________

            the reasonably foreseeable offenses committed by Onyejekwe in

            furtherance of the conspiracy  since she was a member  of the

            conspiracy  during the  relevant time  periods.   See Flores-
                                                              ___ _______

            Rivera, 56 F.3d at 324.  The uses of the various credit cards
            ______

            by Onyejekwe clearly were foreseeable.  

                      3.  Denial of Cross-Examination.
                          ___________________________

                      Defendant argues  that on three  occasions she  was

            prevented from conducting  cross-examination that would  have



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            revealed the biases and  perjured testimony of the witnesses.

            However,  a  review  of  the transcript  shows  that  counsel

            decided to  withdraw the questions to  which defendant refers

            and that there  is no evidence  that either the court  or the

            government "prevented" defendant from cross-examining anyone.

            Thus,  this issue,  being  fact-based, must  be raised  as an

            ineffective assistance claim  in a motion  under 28 U.S.C.   

            2255.   See United  States v.  Georgacarakos, 988  F.2d 1289,
                    ___ ______________     _____________

            1297 (1st  Cir. 1993)  (an ineffective assistance  of counsel

            claim which involves issues not fully  developed in the trial

            record is  not ripe for  decision on  appeal).  For  the same

            reason,  we  will  not consider  defendant's  other arguments

            relating to allegedly ineffective assistance of counsel.

                      4.  Improper Jury Instruction.
                          _________________________

                      Defendant complains that the trial  judge failed to

            instruct  the jury  that    1029 requires  the  government to

            prove  that she  "actually  used" an  unauthorized device  to

            obtain something of value.   Because defendant never objected

            below,  we  review for  plain error.    See United  States v.
                                                    ___ ______________

            McGill,   952  F.2d  16,  17  (1st  Cir.  1991).    The  jury
            ______

            instructions plainly  reveal that  the trial  judge correctly

            instructed the jury that, as Pinkerton holds, defendant could
                                         _________

            be found guilty of fraudulent use of an access  device if the

            jury found  that another's use of  such a device  was part of

            the conspiracy,  that such  use was a  reasonably foreseeable



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            consequence  of  the conspiracy,  and  that  defendant was  a

            member of  the conspiracy  when the  device was used.   As  a

            result, there was no plain error.

                      Defendant's second argument is that the trial judge

            improperly used the word "conspirators" in reciting the overt

            acts charged in the indictment.  Essentially, the trial judge

            substituted  the  word  "conspirators"  for  the  words  "the

            defendants,  Christopher  Onyejekwe  and  Elizabeth  Mogaji."

            Thus, as to the first overt act, the judge stated that "on or

            about  July 6,  1991,  conspirators purchased  merchandise at
                                   ____________

            Lechmere. . . ."  Defendant alleges that this communicated to

            the  jury  the trial  judge's  belief  that she  was  guilty.

            Again, there is no plain  error here.  The trial  court judge

            instructed  the jury  that the  indictment was  not proof  of

            anything and clearly defined what elements were necessary for

            the jury to  find that  defendant was part  of a  conspiracy.

            The judge also  instructed the  jury that he  had no  opinion

            concerning the facts.

                      5.  Motion to Recuse.
                          ________________

                      Defendant argues that Judge Boyle, the trial judge,

            should have  recused himself  due to  his bias  and prejudice

            against defendant.  She  claims that he was convinced  of her

            guilt  from the beginning.   This claim, in  part, arose when

            defendant and her lawyer allegedly heard Judge Boyle state at

            a bail  reconsideration hearing that there  "was a conspiracy



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            among you people."  Defendant also rests her recusal argument

            on  Judge  Boyle's post-trial  threat  that  he would  strike

            defense counsel's name from the court-appointment list.

                      As for the first comment, it does not appear in the

            transcript of the bail reconsideration hearing.  Further, the

            court  reporter  reviewed  the  tape recording  of  the  bail

            reconsideration   hearing   and  verified   the  transcript's

            authenticity.  In any event, defendant has  waived this issue

            by waiting until after trial  to file a motion  for  recusal.
                             _____

            See  In re Abijue Realty  Corp., 943 F.2d  121, 126 (1st Cir.
            ___  __________________________

            1991) (a  litigant, knowing  of a ground  for recusal  cannot

            wait  and  decide whether  he  or  she likes  the  subsequent

            treatment he or she receives).

                      The second  comment, unlike the first,  is not even

            directed at defendant.  Further, a reading of  the transcript

            reveals  that this  apparently  was the  second time  defense

            counsel was  unprepared to go forward on a matter.  We do not

            think  that  this   comment  provides  what   "an  objective,

            knowledgeable  member  of  the  public  would find  to  be  a

            reasonable basis for doubting the judge's impartiality."  See
            ________________                                          ___

            In  re United  States,  666 F.2d  690,  695 (1st  Cir.  1981)
            _____________________

            (stating the  applicable standard under 28  U.S.C.   455(a)).

            Simply, judicial  expressions of vexation at  lawyers who are

            not  ready to  proceed on  time do  not  raise a  question of

            judicial bias.



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                      6.  Motion for a New Trial.
                          ______________________

                      In her recitation of the facts,  defendant mentions

            that the district court denied her  motion for a new trial as

            untimely.  However,  she fails  to include in  her brief  any

            argument  why we  should  reverse the  trial court's  ruling.
            ________

            Thus,  she  has waived  the  issue.   A review  of  the issue

            nonetheless shows that this claim is meritless.

                      Defendant  was convicted  on May  10, 1994  and the

            certificate of service of the new trial motion was dated July

            6, 1994.  Fed. R.  Crim. P. 33 requires  such a motion to  be

            filed within seven days after verdict.  At the hearing on the

            motion,  defendant's  trial  attorney stated  that  defendant

            never had asked him to file a motion for a new trial.   Judge

            Boyle concluded that defendant had been confused over how one

            obtains a new  trial -- by a  motion or an appeal  -- and had

            asked  her attorney  to file  an appeal.   In any  event, the
                                             ______

            untimeliness  of  the  motion  for  a  new trial,  a  finding

            supported  by the  evidence, means  that the trial  court was

            without jurisdiction to rule  on it.  United States  v. Lema,
                                                  _____________     ____

            909 F.2d 561, 565 (1st Cir. 1990).

                      The judgment of conviction is affirmed.
                                                    ________











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